      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 1 of 17



                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

COR CLEARING, LLC, a Delaware    ) Case No. 4:16-mc-13
limited liability company,       )
                                 )
                                 ) APPLICANT’S MOTION TO
                  Applicant,     ) COMPEL PRODUCTION OF
                                 ) DOCUMENTS AND THINGS IN
             vs.                 ) RESPONSE TO SUBPOENA AND
                                 ) MEMORANDUM OF LAW IN
INVESTORHUB.COM, INC., a Florida )      SUPPORT THEREOF
corporation                      )
                                 )
                                 )
                  Respondent.    )
                                 )

                   APPLICANT’S MOTION TO COMPEL

      COMES NOW Applicant COR Clearing, LLC (“COR Clearing”) and hereby

moves for an order compelling InvestorHub.com, Inc. (“InvestorHub.com”) to

produce documents and things responsive to COR Clearing’s subpoena issued in

Case No. 8:15-cv-00317-LES-FGS, pending in the United States District Court for

the District of Nebraska, and served on InvestorHub.com or about December 17,

2015. (A copy of the subpoena is attached hereto as Exhibit B.) More specifically,

COR Clearing seeks an order compelling the identification of, and pertinent

account and contact information for, those individuals or entities who posted

information on the Calissio Resources Group Inc. (“Calissio” or “CRGP”) using

the names or alias listed in Exhibit A hereto. As explained in more detail below, in
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 2 of 17



COR Clearing’s Memorandum of Law, these individuals have each posted

messages indicating that they were unjustly enriched by Calissio’s fraudulent

scheme. That is, they appear to have received dividends to which they were not

entitled, which dividends were wrongfully debited from COR Clearing. Moreover,

certain individuals or entities identified in Exhibit A appear to have been active

promoters of Calissio and its fraudulent scheme. In order to enable COR Clearing

to recover at least a portion of the money it lost as a result of Calissio’s fraudulent

scheme, it is essential that COR Clearing identify those individuals who received

the undue windfalls, as Calissio and its former CEO Adam Carter disappeared after

their fraud came to light.

                       CERTIFICATE OF CONFERENCE

      Pursuant to N.D. Fla. Loc. R. 7.1(B), counsel for COR Clearing

meaningfully conferred with counsel for InvestorHub.com via telephone and

written and email communications about the issues raised herein. As a result of the

conference, COR Clearing narrowed the information it sought via its subpoena by

agreeing to identify a specific list of posters whose identification it seeks. The

parties, however, were not able to reach an agreement as to any poster, and to date

InvestorHub.com has not produced any documents in response to the subpoena,

nor agreed to produce any documents in response to the subpoena.




                                          2
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 3 of 17



         CERTIFICATION OF COMPLIANCE WITH WORD LIMIT

      Pursuant to N.D. Fla. Loc. R. 7.1(F), counsel for COR Clearing hereby

certifies that the Motion to Compel included herein contains fewer than 500 words,

and the Memorandum of Law included herein contains approximately 2,938

words.

                          MEMORANDUM OF LAW

I.    INTRODUCTION

      In a pending lawsuit in the United States District Court for the District of

Nebraska, COR Clearing seeks to remedy a harm caused by Defendants Calissio,

Adam Carter, and Signature Stock Transfer, Inc. (“Signature”), as well as Doe

Defendants who participated in or were unjustly enriched by the fraud. Because

of fraudulent actions undertaken by Calissio and Carter, funds were unlawfully

debited from COR Clearing’s accounts in order to fund unauthorized, unlawful,

and void due bills paid to shareholders of Calissio in connection with the transfer

of shares not entitled to dividends and therefore not giving rise to due bills upon

transfer.1 Because some of those due bills were paid to the individuals whose



1
  Where a dividend is announced and a dividend-eligible stock is sold between the
record date and the ex-dividend date, the seller is assessed a “due bill” that
represents the right of the purchaser to receive the dividend presumably paid to the
seller, who was the shareholder on the record date. The due bill process is utilized
because the issuer of the dividend will ordinarily send a dividend payment to the
shareholder on its books as of the record date, the last record of ownership

                                         3
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 4 of 17



InvestorHub.com user names are identified in Exhibit A, InvestorHub.com is in

possession of information highly relevant and material to COR Clearing’s lawsuit

(namely, the actual identity and contact information of persons who were unjustly

enriched by the fraudulent scheme).

      COR Clearing lawfully issued and served a subpoena on InvestorHub.com in

order to discover this highly relevant information, and COR Clearing files this

Motion because InvestorHub.com has refused to provide information that would

allow COR Clearing to identify the individuals or entities listed in Exhibit A who

are believed to have received an unjust windfall at COR Clearing’s expense. The

subpoena further seeks information regarding the identities of certain posters on

InvestorHub.com’s Calissio message board who appear to have been active

promotors of the fraud perpetuated by Calissio.

      For the reasons stated more fully below, COR Clearing respectfully requests

that the Court grant its Motion, order InvestorHub.com to identify and provide

contact and account information for the individuals and entities listed in Exhibit A,

and grant COR Clearing such other relief as to which COR Clearing is entitled.




available to the issuer, rather than to the legal owner of the dividend right: the
shareholder as of the ex-dividend date.

                                         4
        Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 5 of 17



II.     FACTUAL BACKGROUND

      A. The Subpoena Seeks Material Information Relevant To COR Clearing’s
         Lawsuit

        The subpoena at issue here (the “Subpoena,” attached hereto as Exhibit B),

seeks highly relevant, critical information relating to COR Clearing’s lawsuit

against Calissio, Carter, and Signature. As extensively detailed in COR Clearing’s

lawsuit and supporting affidavits, attached hereto as Exhibit C, COR Clearing was

the victim of an extensive fraud perpetuated by Calissio and Carter. As a result of

this fraud, Calissio shareholders received millions of dollars to which they were

not entitled.

        To execute their fraud, Calissio and Carter took advantage of a weakness in

the due bill payment system implemented by Depositary Trust Clearing

Corporation (“DTCC”).2 On September 30, 2010, Calissio issued a large number

of shares of Calissio stock at a cost basis of $.01. On June 1, 2015, Calissio

announced that it had scheduled a dividend payment for August 17, 2015;

specifically, it announced that on August 17, 2015, a cash dividend of $0.011 per

common share of the Company was “to be paid to the holders of the issued and

outstanding Common Shares as of the close of business on June 30, 2015.”

2
  Because of the complexity of the fraud and DTCC’s interim accounting
procedures, a brief summary is provided in this Motion. A more complete
explanation and description of the fraud may be found in COR Clearing’s Original
Complaint, and the affidavits of Carlos Salas and David Aronoff, attached hereto
as Exhibit C.

                                         5
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 6 of 17



(Declaration of David Aronoff, attached as Exhibit C-1, ¶ 5.) Those shareholders

who owned the stocks as of August 19, 2015, were the ones entitled to this

dividend. (Declaration of Carlos Salas, attached as Exhibit C-2, ¶ 17.)

      What Calissio failed to disclose in its multiple press releases, however, was

that after June 30, 2015 (the “record date”), it issued hundreds of millions of new

shares of common stock in connection with the conversion of convertible debt

previously issued by Calissio. (Id. ¶ 18.) These new shares totaled approximately

four times the number of shares outstanding as of the record date of June 30th.

(Id.) Because the new shares (which totaled approximately 80% of all Calissio

shares available) were issued after the record date, they were not eligible for the

dividends attached to the previous shares. (Id. ¶ 17.)

      DTCC assessed and paid due bills on all shares of Calissio stock that

transacted between June 30 and August 19, none of which were eligible for

dividends. (Id. ¶ 10.) This resulted in a massive error that took money belonging

to others out of their accounts and paid it into the accounts of Calissio and other

shareholders who were not entitled to it.3


3
  Not only did DTCC pay dividends on the shares that were not dividend-eligible
because they were issued after the June 30th record date, but a large portion of this
money went to Calissio because of Calissio’s stock repurchase program.
Essentially, Calissio defrauded the market by discreetly issuing shares of Calissio
stock that were not dividend-eligible and then buying back those shares, knowing
that DTCC’s normal course of action is to collect due bill payments from
companies and pay the funds to the current holders of the shares for all shares in its

                                             6
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 7 of 17



      A significant portion of those credits were funded by debits wrongly charged

against COR Clearing’s accounts. On August 20 and 21, 2015, DTCC debited

COR Clearing for approximately $4.0 million relating to these erroneous due bills

assessed on the shares sold by COR Clearing’s customers.

      Relevant here, the error resulted in stockholders of Calissio receiving due

bills to which the stockholders had no entitlement. While payment of some of

these dividends were delayed by some broker-dealers, such as E-Trade, after

concern was expressed about the fraudulent scheme, ultimately, they were paid and

the money improperly deducted from COR Clearing’s account is now in the

account of Calissio shareholders, including shareholder’s that actively post on

InvestorHub.com’s Calissio board.

   B. The Issued Subpoena And The Parties Subsequent Discussions

      In order to obtain the identities of those who were unjustly enriched by the

fraud, as well as those who may have aided in promoting the fraudulent scheme, on

December 17, 2015, COR Clearing served the subpoena on InvestorHub.com. On

or about December 31, 2015, InvestorHub.com served COR Clearing with

objections to the subpoena (a copy of which are attached hereto as Exhibit D).

Among other things, InvestorHub.com objected to the breadth of the subpoena,


system without verifying whether the shares or the recipients were actually eligible
for the dividend payments that would have justified the due bills.


                                         7
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 8 of 17



which originally sought, among other things, the identification of those individuals

who were actively posting on InvestorHub.com’s Calissio message board during

the period when the purported fraud occurred. Following discussion between the

parties, COR Clearing substantially narrowed its requests by identifying a discrete

list of posters, each of whom were identified because each had posted one or more

messages that evidenced they were unjustly enriched by Calissio’s fraudulent

scheme (that is, they are one of the Calissio stockholders who received dividend

payments to which they were not entitled) or actively promoted the scheme. See

Exhibit E (a copy of COR Clearing’s email to InvestorHub.com identifying a

discrete list of particular posters). This list of posters (with some modifications) is

now attached as Exhibit A and it is only the identification and pertinent account

information for these individuals that COR Clearing seeks by virtue of this Motion.

      The individuals listed on Exhibit A have all posted one or more messages

on InvestorHub.com’s Calissio message board which evidences that they were the

recipient of Calissio dividends during the pertinent period and, in a few instances,

may have been actual promoters of the fraudulent scheme. By way of example:

      porty posted: “This fraud paid me a hefty dividend. I wish all stock
      frauds were like this.”

      BONESPUR posted: “What? Mansion? I have every intention of
      retiring after todays windfall. If you keep replying, I will own
      Uzbekistan. Go CRGP”




                                          8
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 9 of 17



      J-Bo posted:        “Finally…Etrade      released   the   hold   on   my
      dividend!!!!!!”

      mtorruiso posted:     “My divi is now available for withdrawal!!!!
      Yippie!!!”

      misiu143 posted: “Actually I had 44,000.00 doll dividend.”

      DiamondFire posted: “…woooooo I got my dividend! Thank you
      Etrade et. al. this was a long mess ! Very happy this morning….and
      of course financially thankful. Congrats to all others who wake up to
      an early Christmas today! wooooooooooooooooooo!”

      denny-usa posted:      “Finally 67k withheld from hold!           Happy
      moments ☺”

      SHEEPWOLF posted, in pertinent part: “$CRGP: divvy sounds
      good. This board is filled with mythical explanations of why the
      mines, the company, the executives, etc. don’t exist. Lol I’ve already
      received one 500% dividend of over $20k from these unicorns.”

      Mr. Clutch posted: “Right…my $44k dividend was pretty nice. Good
      luck, friend… $CRPG”

These posts, as well as sample posts from each of the other individuals identified in

Exhibit A, are attached hereto as Exhibit F.

      In addition to mere Calissio stock owners, who were unjustly enriched by

the fraud, a handful of the individuals listed in Exhibit A may have been active

participants in the fraud, as they appear to have been active promotors of Calissio,

even after the fraud came to light and default was entered against Calissio in COR

Clearing’s lawsuit (in September 2015). caseyryan1986, for example, posted in

December 2015:



                                         9
       Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 10 of 17



       Its ok everything will work out for the loyal longs, we have supplied
       facts and some people choose not to believe, but we know whats
       going on behind closed doors. In time this ticker, Adam Carter and
       shareholders will get the final laugh. I know whats coming and its
       great!

See Exhibit F at p. 59 (emphasis added).

       Similarly, stock king5508 posted in November 2015:

       Mines in operation, merger coming, great investment here. Everyone
       should hold for gold!!!! CRGP will come alive and amaze us all. Just
       like they did when they paid out the divvy. Great decision to decline
       to go in court. Imo. These guys know what there doing!!!

See Exhibit F at p. 58.

       Other individuals who were actively promoting the stock include

PinkPantherStocks, who in June 2015 and July 2015, was constantly advising those

on the board to “BUY CRGP AND GET RICH” and that “BIG NEWS” was

coming and BERKSHIRE AGENT, who in August 2015, was actively touting the

stock as “HUGELY undervalued” and suggesting that it would “be the biggest

gainer of the month.”       See Exhibit F at pp. 34-52 (a small sample of

PinkPantherStocks posts) and id. at 53-57 (a small sample of BERKSHIRE

AGENT posts).

III.   INVESTORHUB.COM SHOULD BE COMPELLED TO IDENTIFY
       THOSE INDIVIDUALS AND ENTITIES LISTED IN EXHIBIT A

       The information COR Clearing seeks through the Subpoena is highly

relevant. It seeks to identify Calissio stockholders who were unjustly enriched by



                                        10
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 11 of 17



Calissio’s fraudulent scheme. It further seeks to identify individuals who may

have conspired with Calissio and Adam Carter in perpetrating the fraud. While

InvestorHub.com originally objected that the subpoena was overbroad, COR

Clearing responded by narrowing its request. By this Motion, COR Clearing seeks

only identification and pertinent account information for those posters listed on

Exhibit A, all of whom have been identified as having posted one or more

messages suggesting that they were, in fact, a recipient of the dividends that are at

the heart of the underlying litigation. In a few instances, the posters may have

actually also been complicit in promoting the fraud. Thus, what is being sought by

this Motion is narrow and it is directly tied to the core of the underlying

litigation—COR Clearing’s efforts to recover funds that were improperly debited

from its account and ultimately paid to Calissio shareholders who were not entitled

to such funds.

      While InvestorHub.com has also objected that COR Clearing has not met the

higher standards that courts employ when being asked to unmask anonymous

speakers whose First Amendment rights are at issue, this objection is without merit

and the cases upon which InvestorHub.com relies are readily distinguishable. In

Doe v. 2TheMart.com, Inc. 140 F. Supp. 2d 1088, 1095 (W.D. Wash. 2006), upon

which InvestorHub.com relies, the Court recognized that the right to speak

anonymously is protected by the First Amendment and, in light of this, courts



                                         11
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 12 of 17



consider a number of factors in determining whether to require a subpoenaed party

to identify anonymous posters, including whether the subpoena was issued in good

faith and not for improper purpose, whether the information sought relates to a

core claim or defense, whether the identifying information is directly and

materially relevant to that claim or defense, and whether information sufficient to

establish or to disprove that claim or defense is available from other sources. The

underlying litigation in 2TheMart.com was a shareholder derivative suit that

alleged fraud on the market; the defendant company in the underlying litigation

asserted, among other things, that it was the Internet postings—not its conduct—

that caused its stock price to drop.         Id.   In quashing the subpoena, the

2TheMart.com Court found, among other things, that the identity of the

anonymous posters was not relevant to the causation defense, as it was what was

said in the posts (a matter of public record), not the identity of the anonymous

posters, that would have impacted the stock price. Id. at 1097.

      In this case, by contrast, COR Clearing is seeking to recover funds that were

unlawfully debited to its account and unjustly paid to Calissio shareholders

(including those who posted on InvestorHub.com).           While COR Clearing’s

Complaint focuses on the fraud perpetrated by Calissio and Adam Carter, these

entities disappeared once their fraud came to light.         It is thus becoming

increasingly clear that if COR Clearing wants to be made whole, it will need to



                                        12
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 13 of 17



rely upon the unjust enrichment claim in its Complaint and will need to trace

where the funds wrongfully withdrawn from its accounts ultimately ended up.

Here, COR Clearing served the Subpoena in good faith and for a proper purpose—

to identify of shareholders who improperly received Calissio dividends—

information that is directly and materially relevant to its unjust enrichment claim.

As noted in the above examples, the poster who uses the alias BONESPUR spoke

of his or her plans for “retiring” after receipt of the Calissio dividend windfall,

misiu143 and Mr. Clutch both claim to have received $44,000.00 in dividend

payments, and denny-usa claims to have received $67,000.00 in dividends. See

Exhibit F at pp. 8-9, 11 & 23. If COR Clearing is to recover the money unjustly

paid to Calissio shareholders, it must be able to identify these and other

shareholders. Accordingly, the identities of these individuals (and others listed in

Exhibit A) is central to COR Clearing’s unjust enrichment claims.

      InvestorHub.com further argues in its objections that the identification of

those who improperly received the dividend is available from other sources. More

specifically, it argues that COR Clearing has already received from the DTCC the

complete list of its sixty-seven member firms that transacted dividend-related

debits and/or credits during the relevant period and reasons that COR Clearing

could therefore get the pertinent account information by subpoenaing all sixty-

seven member firms. While COR Clearing has, in fact, issued subpoenas to many



                                        13
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 14 of 17



of the member firms (focusing on those with the greatest due bill activity) and has,

in fact, filed actions to enforce compliance with some of these subpoenas, it is not

economically feasible to serve and seek to enforce 67 different subpoenas.

Unfortunately, this is not information that can be readily and easily obtained from

an alternative source and COR Clearing is left with no choice but to use multiple

avenues in an attempt to identify those that most benefited from the fraud. Further,

even if one can piece together some of those who were unjustly enriched via

subpoenas to broker-dealers, these subpoena responses will not aid in identifying

those who may have been active participants in the fraudulent scheme through

their public promotion of Calissio.

      Finally, while InvestorHub.com objects to the Subpoena based on

InvestorHub.com’s     privacy   policy,   this   objection   is   without   merit   as

InvestorHub.com cannot thwart its obligations to produce documents responsive to

a lawfully issued subpoena by virtue of company policy.            Likewise, though

InvestorHub.com cites certain federal and state law protecting certain information

in its objections, it does not contend (nor could it) that providing the information

sought by this Motion would violate any statute.

      In sum, this Motion seeks a limited and discrete set of information that is at

the heart of COR Clearing’s unjust enrichment claim—namely, the identities of

certain individuals who were unjustly enriched by Calissio’s fraudulent scheme.



                                          14
      Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 15 of 17



Whatever interest the persons listed in Exhibit A may have in posting

anonymously about Calissio and the windfalls they have received as a result of

Calissio’s scheme is vastly outweighed by COR Clearing’s compelling need to

identify those who were unjustly enriched at COR Clearing’s expense.

Accordingly, COR Clearing respectfully requests that the Court grant its Motion.

IV.   CONCLUSION

      For the foregoing reasons, COR Clearing respectfully requests that the Court

issue an order compelling InvestorHub.com to produce documents identifying the

individuals, and pertinent contact information for, the posters whose aliases are

identified in Exhibit A, award COR Clearing its fees incurred in pursuing this

Motion, and award such further relief as to which COR Clearing might be entitled.




                                       15
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 16 of 17



Dated: April 15, 2016             Respectfully submitted,
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                                  Not Admitted in Florida; Admitted in
                                  Jurisdiction Where Subpoena Was Issued

                                  ATTORNEYS FOR PLAINTIFF
                                  COR CLEARING, LLC




                                    16
     Case 4:16-mc-00013-RH-CAS Document 1 Filed 04/15/16 Page 17 of 17




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 15th day of April, 2016, a true and correct
copy of the foregoing has been furnished by electronic mail to the following
addressees:

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                                       /s/ D. Ty Jackson
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                                        17
